                      Case Nos. 22-2812 & 22-2854
                   UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

MOREHOUSE ENTERPRISES, LLC d/b/a BRIDGE CITY ORDNANCE; ELIEZER
JIMENEZ; GUN OWNERS OF AMERICA, INC.; GUN OWNERS FOUNDATION,
                     Plaintiffs-Appellants
STATE OF ARIZONA; STATE OF WEST VIRGINIA; STATE OF ALASKA; STATE OF
ARKANSAS; STATE OF IDAHO; STATE OF INDIANA; STATE OF KANSAS;
COMMONWEALTH OF KENTUCKY; STATE OF LOUISIANA; STATE MISSOURI;
STATE OF MONTANA; STATE OF NEBRASKA; STATE OF OKLAHOMA; STATE OF
SOUTH CAROLINA; STATE OF TEXAS; STATE OF UTAH; and STATE OF
WYOMING,
                       Plaintiffs-Appellants,
                                  v.
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES; UNITED
STATES DEPARTMENT OF JUSTICE; and STEVEN M. DETTELBACH as the
DIRECTOR OF ATF,
                        Defendants-Appellees.

           On Appeal from the United States District Court
                  for the District of North Dakota
          The Honorable District Court Judge Peter D. Welte
                        Case No. 3:22-cv-116

           PLAINTIFFS-APPELLANTS’ PETITION FOR
                   REHEARING EN BANC

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                STATEMENT AND INTRODUCTION

     This case concerns a sweeping omnibus Rule that destroys the time-

honored American tradition of private firearm manufacture. In it, the

ATF extended a law applicable to a firearm’s “frame or receiver” to

incomplete and unfinished, non-frame, non-receiver parts. At the same

time, ATF created a backdoor federal registry of all newly compelled

firearms transactions. ATF’s Rule violates the Gun Control Act, the

Firearm Owners’ Protection Act, the Administrative Procedure Act, and

the U.S. Constitution.      Plaintiffs—a broad coalition of States, gun

owners, and businesses—were compelled to sue.

     Despite the Rule’s blatant rewrite of numerous federal statutes, the

district court denied preliminary relief. And two months ago, a panel of

this Court affirmed, concluding—with only minimal analysis—that

Plaintiffs failed to show that they would suffer irreparable harm. But

the panel never engaged with Plaintiffs’ substantial evidence and

allegations, which showed the serious irreparable harms they continue

to suffer because of this Rule. The panel erred, and the Court should

review this case en banc for two reasons.




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     First, the challenged Rule conflicts not only with several federal

statutes, but also with the Supreme Court’s recent decision in N.Y. State

Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022). Bruen reaffirms the

Second Amendment’s unyielding importance.              As Plaintiffs explain

below, when the federal government infringes a constitutional right,

irreparable harm necessarily results.         But in declining to address

whether Plaintiffs were likely to show such a constitutional violation, the

panel overlooked a critical part of the analysis. See Baird v. Bonta, 2023

U.S. App. LEXIS 23760, at *6-7 (9th Cir. Sept. 7, 2013). By extension,

this case presents questions of exceptional importance with nationwide

implications for the right to keep and bear arms (and the proper

interpretation of numerous provisions of federal law). See Fed. R. App.

P. 35(a)(2). As this Court well knows, Second Amendment issues have

been top of mind for courts across the country in recent years.

     Second, this Court’s en banc review is needed to ensure that

Plaintiffs’ case is given the “careful review and a meaningful decision” to

which they are “entitle[d].” Nken v. Holder, 556 U.S. 418, 427 (2009). At

least one judge of this Court already found that Plaintiffs properly

alleged irreparable harm, as that judge would have granted Plaintiffs’



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motion for stay pending appeal. See October 4, 2022 Order, EntryID:

5204710. Yet despite Plaintiffs’ prima facie showing of harm, the panel

issued an opinion that comes close to a summary order. Unexplained and

underexplained orders suggest that a court has exercised “will instead of

judgment” and are insufficient when it comes to injunctive relief. Pub.

Citizen v. DOJ, 491 U.S. 440, 471 (1989) (Kennedy, J., Rehnquist, C.J.,

O’Connor, J., concurring). The Court therefore should rehear this case.

            REASONS FOR GRANTING EN BANC REVIEW

I.      The Panel Failed to Engage with Plaintiffs’ Allegations of
        Irreparable Harm.

        The panel failed to discuss any of Plaintiffs’ many allegations of

irreparable harm, let alone explain why those allegations are legally

insufficient.     Rather, the panel’s opinion provided only general and

conclusory findings—devoid of analysis—that Plaintiffs had not

sufficiently alleged that they will suffer irreparable harm.

        The panel’s summary approach is reason enough to revisit its

decision, as authority far and wide says more is required. For example,

the Supreme Court has criticized opinions devoid of meaningful analysis.

See Purcell v. Gonzalez, 549 U.S. 1, 5 (2006); Antonyuk v. Nigrelli, 143 S.

Ct. 481, 481 (2023) (Alito, J., and Thomas, J., statement respecting the


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denial of the application to vacate stay). This Court, too, has chastised

lower courts who failed to explain their conclusions. See Berks v. United

States, 825 F.2d 1262, 1263 (8th Cir. 1987) (condemning the lower court’s

“bald conclusion”); United States v. DeCoteau, 186 F.3d 1008, 1011 (8th

Cir. 1999). Other courts have said much the same. See, e.g., Liti v.

Comm’r, 289 F.3d 1103, 1105 (9th Cir. 2002); Tubular Rollers, LLC v.

Maximus Oilfield Prods., LLC, 2023 U.S. App. LEXIS 16295, at *25-26

(Fed. Cir. June 28, 2023). These decisions recognize that a court should

explain the reasons for its conclusions so that parties can understand

why the court decided as it did—and any court of higher review can

“check the math.”

       The panel’s decision that Plaintiffs failed to allege irreparable

harm, issued without any meaningful analysis of Plaintiffs’ many

allegations and arguments, deprived Plaintiffs of the “careful review and

a meaningful decision” to which they were “entitle[d].” Nken, 556 U.S. at

427.

  A. The Panel Failed to Engage with Plaintiffs’ Allegations of Second
     Amendment Harms.

       The panel’s one-paragraph discussion rejecting Plaintiffs’ “Second

Amendment harm” (Op. *8-9) did not refer to any allegation in Plaintiffs’


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154-page Complaint (App. 28; R. Doc. 1), their 23 pages of supporting

affidavits (App. 265; R. Doc. 1-27, App. 445; R. Doc. 1-60, App. 450; R.

Doc. 1-61), Plaintiffs’ Motion for Preliminary and/or Permanent

Injunction (App. 464; R. Doc. 14-1), or even Plaintiffs’ briefs filed in this

Court (Private Plaintiffs-Appellants’ Opening Brief, EntryID: 5212365

(Oct. 27, 2022) (“Opening Br.”); Private Plaintiffs-Appellants’ Reply

Brief, EntryID: 5229342 (Dec. 21, 2022)). Nor did the panel reference,

discuss, or affirm any of the district court’s conclusions as to irreparable

harm. See App. 1; R. Doc. 85, at 24-25.

     Rather, the panel declared that “plaintiffs have not clearly shown

how the Final Rule will prevent them from engaging in constitutionally

protected conduct.”     Op. *8.        As to Plaintiff Morehouse, the panel

concluded—without any analysis—that it was “unsure what behavior

[Morehouse] wishes to engage in, as an LLC, that is protected by the

Second Amendment.” Id. And with respect to Plaintiffs Jimenez, GOA,

and GOF, the panel concluded—again, without any analysis—that it

likewise was “unsure how the Final Rule—that creates no new

obligations on individuals—will prevent individuals from engaging in

protected Second Amendment activity.” Id.



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      The panel acknowledged that, “in most instances, constitutional

violations constitute irreparable harm.” Id. And the panel promised that

its “conclusion ... d[id] not speak to the merits of a Second Amendment

claim....”    Id. Even so, the panel still found that Plaintiffs had not

sufficiently alleged that they are suffering irreparable harm to their

Second Amendment rights. But if Plaintiffs are likely to succeed on the

merits of any of their Second Amendment claims, they necessarily

demonstrated irreparable harm. See Baird, 2023 U.S. App. LEXIS 23760,

at *6-7; see also id. at *8 (court may not “deny a motion for a preliminary

injunction without analyzing the plaintiff's likelihood of success” when “a

plaintiff alleges a constitutional violation”). In any event, Plaintiffs’

pleadings and briefing show their harm.

             i.    The Final Rule’s Serialization, Registration,
                   Background    Check,   and     Recordkeeping
                   Requirements   Violate   Plaintiffs’  Second
                   Amendment Rights.

      The allegations here are substantial—Plaintiff Jimenez is a good

example.          He explained that, before the Final Rule, he privately

manufactured his own firearms (“specifically handguns”) for personal

use, utilizing “unregulated parts” purchased from unlicensed retailers.

App. 446; R. Doc. 1-60, at 2, ¶¶4-6. He desires and intends to continue

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that activity in the same manner as before, and would do so “[b]ut for the

Final Rule.” Id. ¶¶4, 9. But, because of the Final Rule, those same

previously unregulated, unserialized, incomplete, and unfinished frame

or receiver precursors Jimenez previously purchased and utilized in the

manufacturing process are now regulated as “firearms.” App. 77, 82, 86,

88-89, 90-91; R. Doc. 1, at 50, 55, 59, 61-62, 63-64, ¶¶205, 207, 228, 250,

261, 266, 267-68. Those previously unregulated parts now must be

manufactured,     serialized, and transferred         by federally      licensed

manufacturers and dealers, with all the attendant requirements of

federal law. App. 447, 448; R. Doc. 1-60, at 3, 4, ¶¶12, 18. The Final Rule

thus “mak[es] it difficult (if not impossible) for the average, law-abiding

gun owner to manufacture a homemade firearm.” Opening Br. at 7; see

also id. at 44.

      First, although Jimenez’s prior homemade firearms do not contain

any parts with serial numbers (App. 447; R. Doc. 1-60, at 3, ¶11), under

the Final Rule some of those same parts now must be serialized by their

manufacturer (87 Fed. Reg. at 24739), while any existing unserialized

firearms Jimenez already possessed must be serialized by a dealer should

he bring the firearm in for customization or repair, something he has



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done and intends to continue to do (App. 446-47; R. Doc. 1-60, at 2-3, ¶10).

See Opening Br. at 36. Second, the newly-required transfer of previously

unregulated parts through a licensed manufacturer and dealer, as

serialized firearms, means that Jimenez must “fill out forms with [his]

personal information … [and] submit [him]self to an intrusive federal

background check.” App. 447; R. Doc. 1-60, at 3, ¶15; 87 Fed. Reg. at

24653. Third, whereas Jimenez previously bought precursor firearm

components to privately manufacture personal firearms anonymously,

without government control and oversight, he now is required to use a

licensed dealer. That new requirement means that information about

him and his unfinished firearm components (make, model, serial number,

along with his name, address, etc.) will be recorded, maintained, and kept

in perpetuity by a firearms dealer—subject to warrantless inspection, at

any time, by ATF. App. 446, 447-48; R. Doc. 1-60, at 2, 3-4, ¶¶9, 15; see

Opening Br. at 45; see also id. at 46-47.

     Of course, Jimenez is only one example; he is not the only gun owner

represented in this litigation. App. 450-51; R. Doc. 1-61, at 1-2, ¶¶2-3;

Opening Br. at 45. Plaintiffs GOA/GOF alleged that, like Jimenez, many

of their members with whom they have communicated (App. 453; R. Doc.



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1-61, at 4, ¶18), and who are represented in this case, routinely privately

manufacture their own firearms, at home, for personal use. Id. ¶¶9, 19-

20. Many of these persons also have their privately made, unserialized

firearms worked on by firearm dealers, for “finishes,” for “installing

various accessories,” and for “repair, cleaning, or maintenance….” Id.

¶24.    GOA/GOF explained that the Final Rule now purports to

criminalize these same lawful activities unless gun owners submit to the

Rule’s “serialization and recordkeeping” requirements for their privately

made firearms (id. ¶¶25, 28), which infringes their Second Amendment

rights, creating irreparable harm (id. ¶¶24-28).         The panel’s opinion

addressed none of this.

       In short, Plaintiffs explained how the Final Rule’s additional

requirements infringe their right to keep and bear arms. App. 446, 448;

R. Doc. 1-60, at 2, 4, ¶¶9, 16; Opening Br. at 45 (“Plaintiffs are deprived

of access to the components, parts, and materials to manufacture their

own firearms,” which “unconstitutionally interferes with Plaintiffs’

Second Amendment rights”).         Plaintiffs clearly alleged that (i) they

intend to engage in each specific activity, (ii) the Final Rule would restrict

or foreclose each activity by requiring additional hurdles and



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impediments, and (iii) each of these new impediments to private firearm

manufacture violates Second Amendment rights. Yet in the face of these

numerous and specific allegations, the panel professed to be “unsure.”1

Op. *8.

          ii.   The Final Rule’s Creation of a Prohibited National
                Gun    Registry    Violates    Plaintiffs’ Second
                Amendment Rights.

     The panel also overlooked how a new national gun registry will

cause irreparable Second Amendment harm by unlawfully eliminating

the ability to anonymously purchase incomplete, unfinished, and

unserialized firearm components with which to privately manufacture

firearms. App. 454, 455; R. Doc. 1-61, at 5, 6, ¶¶20, 26-27; Opening Br.

at 6-7, 45. The Rule further unlawfully requires dealers to serialize and

keep records about privately made firearms on which they work (App.

455-56; R. Doc. 1-61, at 6-7, ¶¶28-29; Opening Br. at 8, 45) and thereafter




1 One might guess that the panel implicitly concluded that (i) there is no

Second Amendment right to anonymity in making one’s own personal
firearm, and that (ii) serialization, (iii) background checks, (iv)
recordkeeping, and (v) warrantless search and seizure of those records by
ATF do not infringe Second Amendment rights. But the panel disclaimed
reaching such conclusions, noting that it did “not speak to the merits of
a Second Amendment claim later in this litigation.” Op. *8. But see
Baird, 2023 U.S. App. LEXIS 23760, at *6-7.

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to keep those records forever. Together, these requirements effectively

create a national gun registry (App. 120; R. Doc. 1, at 93, ¶379; States’

Opening Br. at 20-23) of that sort that is explicitly prohibited by statute

(App. 177-78; R. Doc. 1, at 150-51, ¶¶684-87). That registry irreparably

harms Plaintiffs’ Second Amendment rights . See id. ¶¶403, 602-18; App.

446-48; R. Doc. 1-60, at 2-4, ¶¶8-15; see also Op. *5 (acknowledging that

Plaintiffs brought this claim); States’ Opening Br. at 20-23.

     Plaintiffs explained that they “will be … unable to exercise of [their]

Second Amendment right to manufacture [their] own firearm[s] free from

government oversight and control, without being forced into a

government-controlled system of firearm records….” See States’ Opening

Br. at 35; Opening Br. at 44-45. But the panel did not engage with these

claims. See Op. *9 (“we are left unsure”). At the very least, one would

expect the panel to explain why allegations like these are insufficient to

establish irreparable harm. Perhaps the panel could have concluded that

the Final Rule does not create a national gun registry, that any such

registry does not violate the statute, or that a government registration of

firearms and firearm owners does not offend the Second Amendment. Or

that, even if a Second Amendment violation occurred, it does not amount



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to a level of irreparable harm sufficient to justify preliminary injunctive

relief. But the panel did not reach these conclusions. The Court should

rehear this case to address the facts and allegations that are present

here.

          iii.   The Final Rule Creates New Federal Crimes that
                 Place Plaintiffs at Risk of Prosecution for
                 Previously Lawful Activities.

        Plaintiffs also alleged risk of criminal prosecution for their

previously lawful activities.          But again, the panel did not even

acknowledge that Plaintiffs made these claims.

        Plaintiffs’ logic is straightforward.       Plaintiffs no longer can

manufacture, sell, or purchase unfinished and unserialized frames and

receivers free from background checks and recordkeeping, without

“threats of criminal liability….” App. 446; R. Doc. 1-60, at 2, ¶7; App.

457, 461; R. Doc. 1-61, at 8, 12, ¶¶38, 66; Opening Br. at 47 n.25; id. at

47 (“Jimenez … cannot confidently purchase parts without exposing

himself to potential criminal liability”).        But beyond that, Plaintiffs

“possess common household items that, in theory, could be manufactured

into a suppressor” (App. 458; R. Doc. 1-61, at 9, ¶43), and the Final Rule’s

new definition of “complete muffler or silencer device” means that these



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people are committing felony crimes. Opening Br. at 25-26; App. 131; R.

Doc. 1, at 104, ¶439 and generally at App. 127-32; R. Doc. 1, at 100-05,

¶¶419-44. Thus, “harm results because … uncertainty—paired with

ATF’s intent to enforce the Rule—compels an unwanted change in

behavior out of fear of criminal sanction.” Opening Br. at 49 (citing

Adam-Mellang v. Apartment Search, 96 F.3d 297, 301 (8th Cir. 1996)).

     The panel found that these harms were illusory, but did not reveal

why. Here again, the panel could have opined that Plaintiffs’ reading of

the Final Rule is incorrect, but it chose not to reach the merits of

Plaintiffs’ claims. Especially in light of that choice, Plaintiffs more than

sufficiently alleged the risks of felony prosecution to which the Final Rule

exposes them.

  B. Plaintiffs Will Suffer Economic Harm.

     Plaintiffs also alleged various unrecoverable (and therefore

irreparable) economic harms that flow from the Final Rule.

     Take the reliance costs.          The Final Rule “reverses … scores of

classification letters” on “partially complete or unassembled frames or

receivers.” Opening Br. at 6-7. The organizational Plaintiffs explained

how some of their members hold ATF approval letters that the Final Rule



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revoked. See App. 34-35, 98-99, 146; R. Doc. 1, at 7-8, 71-72, 119, ¶¶9.a,

293-94, 519; App. 452, 456, 461-62; R. Doc. 1-61, at 3, 7, 12-13, ¶¶8, 31-

32, 64-68; App. 483; R. Doc. 14-1, at 19. Revocation of an ATF approval

letter means one can no longer sell certain products, leading to

immediate elimination of sales (and thus loss of revenue), causing

irreparable financial harm. See App. 488-89; R. Doc. 14-1, at 24-25

(“companies will be forced to … stop selling products or combinations of

products”). If ATF’s declaration that products sold by Plaintiffs’ members

cannot lawfully be sold does not constitute per se irreparable economic

harm, it is hard to see what would.

     Yet the panel gave short shrift to these unrecoverable monetary

injuries, imposing a new, higher standard for economic harms. Although

acknowledging Plaintiffs’ claims that the “scope of the Final Rule will be

costly to businesses and lead to fewer sales of firearms,” the panel faulted

Plaintiffs for “fail[ing] to explain how the” Rule “will impact their overall

business model in a way that will result in closures.” Op. *9. See App.707;

Final Rule at 24,718 (“[gun] companies… could dissolve their business”);

App.623; NPRM at 27,736 (“there would be a significant [economic]

impact” on non-FFL manufacturers); App.71, 78-102; R. Doc. 1 at 44, 51-



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75; App.728; Final Rule at 24,739. But even if the inability to sell one’s

products that ATF has declared illegal does not lead to complete closures,

“substantial loss of business and … bankruptcy” still constitutes classic

irreparable harm. Doran v. Salem Inn, Inc., 422 U.S. 922, 932 (1975);

Colo. Sec. Consultants, LLC v. Signal 88 Franchise Grp., Inc., 2017 U.S.

Dist. LEXIS 38803, at *8 (D. Neb. Mar. 17, 2017) (citing Packard Elevator

v. Interstate Com. Comm’n, 782 F.2d 112, 115 (8th Cir. 1986).

     The panel also concluded that Plaintiffs failed to explain their

“compliance costs” stemming from the Rule “in definite enough terms to

show the extent of any harm is ‘actual and not theoretical.’” Op. *9. But

see West Virginia v. EPA, 2023 U.S. Dist. LEXIS 64372, at *50 (D.N.D.

Apr. 12, 2023) (finding compliance costs can constitute irreparable harm).

But Plaintiffs alleged that their members include “distributors and

retailers of unregulated firearm parts (including ‘80% frames and

receivers’).” App. 451; R. Doc. 1-61, at 2, ¶7. Under the Final Rule, these

persons have only limited options for complying—and all impose costs, as

ATF itself admits. First, they could “obtain[] a federal firearms license”

and “engage in recordkeeping and conduct background checks.” App. 77;

R. Doc. 1, at 50, ¶203, 87 Fed. Reg. at 24731; Opening Br. at 46 (Final



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Rule “has disturbed and disrupted (if not ended entirely) those engaged

in the business of selling unregulated firearm parts”). The Final Rule

estimated the up-front cost to obtain such a license at $458 per license

application.2 For those who choose not to be licensed, ATF says they

either may “dispose of their inventory” (and forfeit a product line) or

“dissolve their business.”3 See also App. 36-37; R. Doc. 1, at 9-10, ¶10.

No matter which path these persons take, by ATF’s own admission, they

are irreparably harmed. See Opening Br. at 51.

     Once again, the panel seems to have mistakenly imposed a higher

standard of proof, faulting Plaintiffs for not having predicted an exact

dollar amount of harm that would befall them. Op. *9. Yet the Final

Rule itself states that ATF “can make estimates … but it cannot

determine with complete specificity the actual outcomes of the final rule.”

App. 37; R. Doc. 1, at 10, ¶10 n.3; see Citizens Coal Council v. Babbitt,

2002 WL 35468435, at *1 (D.C. Cir. June 5, 2002) (“substantial

uncertainty” in federal regulatory scheme constituted irreparable harm).




     2 Regulatory Impact Analysis and Final Regulatory Flexibility
Analysis (“RIA”), at 73 (Apr. 2022), https://tinyurl.com/32dns8ps.
     3 RIA, supra note 2, at 72; see also id. at 32.



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  C. The States Will Suffer Harm.

     Perhaps the most unusual part of the panel’s decision was its

rejection of the Plaintiff States’ irreparable harms. Relegating discussion

to a short footnote, the panel concluded that it was unnecessary to

address whether the States’ harms are irreparable because the alleged

harms do not establish Article III standing. Op. *8 n.5 (reciting the

“several harms [the States] claim warrant standing”). But as the States

explained, some States have laws that affirmatively protect the private

manufacture of firearms that the Rule prohibits. See Kan. Stat. § 50-

1204(a); Alaska Stat. § 44.99.500(b). By interfering in the sovereign

powers embodied in those laws, Defendants have irreparably harmed

those States. Cf. Maryland v. King, 567 U.S. 1301, 1303 (2012) (“Any

time a State is enjoined by a court from effectuating statutes enacted by

representatives of its people, it suffers a form of irreparable injury.”); see

also Georgia v. Pruitt, 326 F. Supp. 3d 1356, 1367 (S.D. Ga. 2018) (“Loss

of sovereignty is an irreparable harm.”). The Final Rule also undermines

State tax revenues—by forcing business closures—and undermines State

crime-control efforts—by discouraging robust and broadly distributed




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gun ownership. These harms are significant. See States’ Opening Br. at

36-40.

     The panel’s quick-hit rejection of a party’s standing allegations is

inconsistent with typical standing analysis. In this Circuit, a “‘court

must accept all factual allegations in the complaint as true and draw all

inferences in the plaintiff’s favor’ when making a determination on

standing.” Gray v. City of Valley Park, 567 F.3d 976, 983 (8th Cir. 2009).

This “[t]ypically … requires careful judicial examination of a complaint’s

allegations….” Pucket v. Hot Springs Sch. Dist. No. 23-2, 526 F.3d 1151,

1157 (8th Cir. 2008). Ultimately, though, “pleading Article III standing

requires   only    ‘general    allegations    of   injury,    causation,     and

redressability.’” Huizenga v. Indep. Sch. Dist. No. 11, 44 F.4th 806, 811

(8th Cir. 2022); see also In re SuperValu, Inc., Consumer Data Sec. Breach

Litig., 870 F.3d 763, 773 (8th Cir. 2017) (citation omitted) (finding

standing allegations sufficient despite “omissions [that] could be fatal to

the complaint under the ‘higher hurdles’ of Rules 8(a) and 12(b)(6)”

because “standing under Article III presents only a ‘threshold inquiry,’

requiring ‘general allegations’”).

     But the panel did not give any “careful judicial examination” to the



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States’ allegations. See R. Doc. 22, at 10-16, ¶¶11.a-q, 11.1-5; Opening

Br. at 5; States’ Opening Br. at 39-40. First, the panel asserted that the

States’ “alleged harms are vague and speculative,” and concluded that

these injuries were not “‘concrete, particularized, and actual or

imminent.’” Op. *8 n.5 (citing Davis v. FEC, 554 U.S. 724, 733 (2008)).

But the panel’s decision does not explain why. Nor does it provide any

insight into why the States’ alleged harms are not “concrete,”

“particularized,” “actual,” or “imminent.” Second, the panel concluded

that the States’ alleged harms are not “fairly traceable to the defendant’s

challenged behavior….” Id. (again citing Davis). The panel provides no

explanation why that is so. And third, the panel concluded that the

States’ alleged harms are not “likely to be redressed by a favorable

ruling.” Id. But again, the panel does not say why it reached that

conclusion.

     At bottom, the panel’s decision fails to carefully review the States’

alleged harms, as this Court’s precedent requires. See Pucket, 526 F.3d

at 1157.

                              CONCLUSION

     This Court should review this case en banc to ensure that Plaintiffs’



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serious claims are heard, that vital questions of constitutional and

statutory law are decided, and that serious and irreparable harms are

prevented. At bottom, “courts should be able to review ATF's 98-page

rule, and the decades of precedent it attempts to change, without the

Government putting people in jail or shutting down businesses.”

Vanderstok v. Garland, 2023 U.S. App. LEXIS 26499, at *8-9 (5th Cir.

Oct. 2, 2023). The Court should grant the petition.

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     I certify that on October 6, 2023, I electronically filed the foregoing

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